




NO. 07-08-0221-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



JUNE 6, 2008



______________________________





BARRY DWAYNE MINNFEE, 



Appellant



v.



THE STATE OF TEXAS, 



Appellee





_________________________________



FROM THE 251
ST
 DISTRICT COURT OF POTTER COUNTY;



NO. 43,519-C; HON. ANA ESTEVEZ, PRESIDING



_______________________________



Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

Barry Dwayne Minnfee attempts to appeal his conviction of burglary of a habitation. &nbsp;Sentence was imposed on January 28, 2002. &nbsp;However, notice of appeal was not filed until &nbsp;May 16, 2008. &nbsp;We dismiss for want of jurisdiction. &nbsp;

To be timely, a notice of appeal must be filed within 30 days after the sentence is imposed or suspended in open court or within 90 days after that date if a motion for new trial is filed. &nbsp;
Tex. R. App. P. 
26.2(a). &nbsp;Appellant’s notice of appeal was clearly filed after the appropriate deadline. &nbsp;&nbsp;

A timely filed notice of appeal is essential to invoke our appellate jurisdiction. &nbsp;
Olivo v. State, 
918 S.W.2d 519, 522 (Tex. Crim. App. 1996). &nbsp;If it is untimely, we can take no action other than to dismiss the proceeding. &nbsp;
Id. 
at 523. &nbsp;Appellant’s notice being untimely filed, we have no jurisdiction over the matter and dismiss the appeal.

Accordingly, appellant’s appeal is dismissed.
(footnote: 1)


Brian Quinn 

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Chief Justice



Do not publish. &nbsp;

FOOTNOTES
1:The appropriate vehicle for seeking an out-of-time appeal from a final felony conviction is by writ of habeas corpus pursuant to article 11.07 of the Texas Code of Criminal Procedure. &nbsp;
See 
Tex. Code Crim. Proc. Ann. 
art. 11.07 (Vernon 2005). 




